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                   J.Stephen Simms – List of Bar Memberships




 Bar Code / ID      Jurisdiction                                 Date of Admission/Status

 None               U.S. Supreme Court                           10/21/2002 Active
 None               U.S. Court of Federal Claims                 11/22/2006 Active
 None               U.S. Court of International Trade            01/19/1984 Active
 382388             U.S. District Court - District of Columbia   09/14/1992 Active
 04269              U.S. District Court - Maryland               08/16/1985 Active
 None               U.S. District Court – Northern Illinois      12/21/1983 Active
 None               U.S. District Court – N.Y. Western           12/21/2015 Active
                    District
 None               U.S. Court of Appeals - 2nd Circuit          02/01/2010 Active
 None               U.S. Court of Appeals – 3rd Circuit          10/02/1985 Active
 None               U.S. Court of Appeals – 4th Circuit          10/18/1985 Active
 None               U.S. Court of Appeals - 5th Circuit          07/18/2002 Active
 None               U.S. Court of Appeals – 7th Circuit          12/30/1983 Active
 None               U.S. Court of Appeals – 9th Circuit          11/30/2005 Active
 None               U.S. Court of Appeals – 11th Circuit         09/12/1995 Active
 53972              U.S. Court of Appeals – D.C. Circuit         02/15/2012 Active
 382388             D.C. Court of Appeals                        09/12/1995 Active
 6185958            Illinois Supreme Court                       11/09/1983 Inactive
 198-512-010-574    Maryland Court of Appeals                    12/20/1985 Active
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